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                         UNITED STATES DISTRICT COURT

                                 Northern District of New York

                                      6th Judicial Division



_______________________________________
                                       )
JANE DOE, JOHN DOE                      )
                                       )                      Case No.3:24-cv-274 (MAD/ML)
                                       )
                    Plaintiffs          )
                                       )
         -against-                     )
                                       )                            [PROPOSED] ORDER
                                       )
JONATHAN REES aka GREG ELLIS           )
aka JOHNATHAN REES aka JONNY REES      )
aka JACOB LORENZO                      )
                                       )
                    Defendant           )
______________________________________ )



This matter having come before the Court on the Motion of Plaintiffs, Jane Doe and John Doe,

pro se., For Entry of Default, and the Court having considered the submissions of the parties and
the arguments of counsel, and for good cause shown,

IT IS on this _____ day of ___________, 2025,


ORDERED that Plaintiff’s Motion For Entry of Default

is GRANTED.

                                                                                 BY THE COURT:


                                                                     _______________________

                                                                                District Court Judge
